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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
                                                  §
VS.                                               §     CRIMINAL NO. H-10-696
                                                  §
                                                  §
                                                  §
JESSE SANCHEZ, et al.                             §

                                                ORDER

       Defendant Jesse Sanchez filed an unopposed motion for continuance, (Docket Entry No. 56).

The court finds that the interests of justice are served by granting this continuance and that those

interests outweigh the interests of the public and the defendants in a speedy trial. The motion for

continuance is GRANTED. The docket control order is amended as follows:

       Motions are to be filed by:                     March 28, 2011
       Responses are to be filed by:                   April 11, 2011
       Pretrial conference is reset to:                April 18, 2011, at 8:45 a.m.
       Jury trial and selection are reset to:          April 25, 2011, at 9:00 a.m.


               SIGNED on February 1, 2011, at Houston, Texas.

                                                      ______________________________________
                                                               Lee H. Rosenthal
                                                         United States District Judge
